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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                         Case No. 19-cr-193 (PJS/LIB) (1)

              Plaintiff,

v.                                                REPORT AND RECOMMENDATION

Amanda May Walsh (1),

              Defendant.

UNITED STATES OF AMERICA,                         Case No. 19-cr-193 (PJS/LIB) (2)

              Plaintiff,

v.                                                REPORT AND RECOMMENDATION

Matthew James Gunderson (2),

              Defendant.


       This matter comes before the undersigned United States Magistrate Judge pursuant to a

general assignment, made in accordance with the provisions of Title 28 U.S.C. § 636 and Local

Rule 72.1, upon Defendant Matthew James Gunderson’s (hereinafter “Defendant Gunderson”)

Motion to Sever Defendants, [Docket No. 44]; Defendant Gunderson’s Motion for Suppression

of Confessions or Statements in the Nature of Confessions, [Docket No. 45]; Defendant

Gunderson’s Motion for Suppression of Evidence Obtained With a Warrant, [Docket No. 46];

Defendant Amanda May Walsh’s (hereinafter “Defendant Walsh”) Motion to Suppress Evidence

Obtained in Violation of the Fourth Amendment, [Docket No. 52]; and Defendant Walsh’s

Motion to Sever Defendants. [Docket No. 54]. The Court held a Motions Hearing on September
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13, 2019, regarding the parties’ pretrial motions. 1 At the motions hearing, the parties requested

the opportunity to submit supplemental briefing, and the Court granted the parties’ request. Upon

the completion of that briefing, the Defendants’ Motion to Suppress and Sever were taken under

advisement.

        For reasons discussed herein, the Court recommends that Defendant Gunderson’s Motion

to Sever Defendants, [Docket No. 44], be DENIED without prejudice; that Defendant

Gunderson’s Motion for Suppression of Confessions or Statements in the Nature of Confessions,

[Docket No. 45], be DENIED; that Defendant Gunderson’s Motion for Suppression of Evidence

Obtained With a Warrant, [Docket No. 46], be DENIED; that Defendant Walsh’s Motion to

Suppress Evidence Obtained in Violation of the Fourth Amendment, [Docket No. 52], be

DENIED; and that Defendant Walsh’s Motion to Sever Defendants, [Docket No. 54], be

DENIED without prejudice.

I.      Background and Statement of Facts

        A. Background

        Defendant Gunderson is charged with three counts of production and attempted

production of child pornography in violation of 18 U.S.C. §§ 2251(a) and 2251(e); one count of

distribution of child pornography in violation of 18 U.S.C. §§ 2251(a)(2) and 2252(b)(1); and

three counts of receipt of child pornography in violation of 18 U.S.C. §§ 2251(a)(2) and

2252(b)(1). (Indictment [Docket No. 28]).

        Defendant Walsh is charged with three counts of production and attempted production of

child pornography in violation of 18 U.S.C. §§ 2251(a) and 2251(e); two counts of distribution

of child pornography in violation of 18 U.S.C. §§ 2251(a)(2) and 2252(b)(1); one count of


1
 The Court addressed the parties’ pretrial motions for discovery and production of evidence by separate Order.
[Docket No. 63].

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receipt of child pornography in violation of 18 U.S.C. §§ 2251(a)(2) and 2252(b)(1); and one

count of possession of child pornography in violation of 18 U.S.C. §§ 2252(a)(4)(B) and

2252(b)(2). (Indictment [Docket No. 28]).

        B. Facts

        The record presently before the Court indicates that sometime between the late night

hours of February 9, 2019, and into the early morning hours of February 10, 2019, Samantha

Clark, Defendant Walsh’s niece, asked Defendant Walsh if Ms. Clark’s husband, Dustin Clark,

could borrow Defendant Walsh’s daughter’s phone for the day. (Gov’t’s Ex. 7 at 1:15–2:23). 2

Defendant Walsh gave Ms. Clark her daughter’s phone in the upstairs of their residence, and Ms.

Clark took the phone to her husband downstairs. (Id.). 3 Upon receiving the phone, Ms. Clark

used her phone to send a text message to Defendant Walsh asking for the “pin” to unlock Minor

A’s phone, and Defendant Walsh sent Ms. Clark the “pin” to unlock the phone. (Gov’t’s Ex. 6 at

8:00–9:00). 4 A “few minutes” after Ms. Clark received Minor A’s phone, Defendant Walsh sent

a text message to Ms. Clark’s phone instructing here to “go ahead and just delete all three

conversations please don’t read just delete she [apparently referring to Minor A] asked.” (Gov’t’s

Ex. 7 at 1:15–2:23).

        Upon receiving this request to delete certain conversations from Minor A’s phone, Ms.

Clark went into Minor A’s phone to see what the messages were. (Id. at 2:23–3:10). Ms. Clark


2
  Government’s Exhibit 7 is a CD audio recording of the February 10, 2019, interview of Savannah Clark at her
residence. At the Motions Hearing, the Government, without objection, offered the CD audio recording into
evidence as Government’s Exhibit 7. (September 13, 2019, Motions Hearing, Digital Recording at 12:08–12:17).
The citations to the audio recording are in a MM:SS format.
3
   Ms. Clark is Defendant Walsh’s niece. (See, Id.). Defendant Walsh; Defendant Walsh’s minor daughter
(hereinafter “Minor A”); Ms. Clark; Ms. Clark’s husband; and Defendant Walsh’s parents all reside at the same
residence. (See, gen., Id.).
4
  Government’s Exhibit 6 is a CD audio recording of the February 10, 2019, interview of Defendant Amanda Walsh
at her residence. At the Motions Hearing, the Government, without objection, offered the CD audio recording into
evidence as Government’s Exhibit 6. (September 13, 2019, Motions Hearing, Digital Recording at 11:26–11:28).
The citations to the audio recording are in a MM:SS format.

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observed text messages of a sexual nature which she believed had been sent from Defendant

Gunderson to Minor A, as well as, nude pictures of a sexual nature of Minor A which had been

sent from Minor A’s phone to Defendant Gunderson. (Id. at 3:00–4:15). Ms. Clark believed that

at least some of the pictures of Minor A appeared to have been taken by Defendant Walsh. (Id. at

4:15–5:00).

        Upon discovering the text messages and photos, Ms. Clark began showing the contents of

the phone to her husband, Dustin Clark. (Gov’t’s Ex. 8 at 2:07–3:48). 5 Mr. Clark also observed

nude pictures of a sexual nature of Minor A, as well as, text messages indicating that Defendant

Walsh had digitally penetrated Minor A’s vagina and Defendant Gunderson had vaginally

penetrated Minor A with his penis. (Id.). Ms. Clark then gave the phone to Defendant Walsh’s

mother. (See, Id. at 10:30–10:50). Defendant Walsh then took the phone from her mother. (Id.).

Mr. Clark “snatched” the phone from Defendant Walsh and “ran” outside to call 911 because he

believed Defendant Walsh was going to delete the photos and messages he had observed. (Id. at

3:40–4:00; 10:00–11:30). 6 After he “snatched” the phone, Defendant Walsh asked Dustin Clark

to return the phone. (Gov’t’s Ex. 6 at 10:18–11:00).

        After Mr. Clark had exited the residence, he called 911. (Gov’t’s Ex. 1 at 00:00–2:00). 7

Mr. Clark asks the 911 operator to send an officer to the residence. (Id.). After Mr. Clark

requested an officer’s presence, a female voice can be heard at a distance in the background


5
  Government’s Exhibit 8 is a CD audio recording of the February 10, 2019, interview of Dustin Clark at his
residence. At the Motions Hearing, the Government, without objection, offered the CD audio recording into
evidence as Government’s Exhibit 8. (September 13, 2019, Motions Hearing, Digital Recording at 12:08–12:17).
The citations to the audio recording are in a MM:SS format.
6
  Defendant Walsh later told law enforcement that she had placed the phone between her legs in the standing
position, and to “snatch” the phone, Mr. Clark grabbed Defendant Walsh’s wrist to move her arm out of the way.
(Gov’t’s Ex. 6 at 9:00–11:00).
7
  Government’s Exhibit 1 is a CD audio recording of the two 911 calls Mr. Clark placed on February 10, 2019. At
the Motions Hearing, the Government, without objection, offered the CD audio recording into evidence as
Government’s Exhibit 1. (September 13, 2019, Motions Hearing, Digital Recording at 11:12–11:15). The citations
to the audio recording are in a MM:SS format.

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yelling, “It’s my phone.” (Id.). Mr. Clark responds, “No it’s not. Not when you go to jail bitch.”

(Id.). Mr. Clark then begins describing to the 911 operator the messages and images he and Ms.

Clark had observed on Minor A’s phone. Mr. Clark then tells an unspecified person that

Defendant Walsh should stay at the residence, and the 911 operator then asks as to whether or

not Defendant Walsh is leaving. (Id.). Mr. Clark responds stating that he and the others present

wanted Defendant Walsh arrested and “out of here” because she did not need to be around Minor

A. (Id.). The 911 call was then terminated having been approximately two minutes in length.

        An unspecified time later, Mr. Clark places a second 911 call inquiring as to when the

officer will arrive. (Id. at 2:00–3:50). Mr. Clark informs the 911 operator that he is asking about

the officer because the “grandparents” are trying to keep Defendant Walsh in the house because

she said she was going to walk away from the house with Minor A. (Id.). The 911 operator

informs Mr. Clark that an officer is on the way, Mr. Clark thanks the 911 operator, and the 911

call is then ended. (Id.).

        The 911 operator had notified Aitkin County Sherriff’s Deputy Keith Bennett (hereinafter

“Deputy Bennett”) of a “disturbance or some kind of altercation” at the residence regarding “a

cell phone and some images that were found.” (September 13, 2019, Motions Hearing, Digital

Recording at 11:08–11:13). Deputy Bennett arrived at the scene a short time later.

        Upon arriving at the residence, Deputy Bennett parked his patrol vehicle in the

residence’s driveway where he observed three individuals he later identified as Savannah Clark;

Dustin Clark; and Defendant Walsh’s mother, Barb Walsh. (Id.). Deputy Bennett began speaking

with the three individuals, and the individuals collectively began describing the situation to

Deputy Bennett. (Id. at 11:08–11:18). As they explained the situation to Deputy Bennett, they

scrolled through Minor A’s “white Moto” phone reading aloud the text messages and showing



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Deputy Bennett the images of Minor A in various “sexual poses.” (Id.). After speaking with the

three individuals, Deputy Bennett “collected the phone and threw if on [his] front seat of [his]

patrol vehicle and locked the doors.” (Id.).

        After placing Minor A’s phone in his patrol car, Deputy Bennett went into the residence

to speak with Defendant Walsh. (Id.). Deputy Bennett initially spoke with Defendant Walsh in

the living room of the residence, where she informed him that the phone in his patrol vehicle

belonged to Minor A, and that Defendant Walsh had two phones—a working phone and a non-

working phone. (Id. at 11:17–11:27). Defendant Walsh signed a Consent to Search Form

indicating she was providing law enforcement permission to search both of her phones, as well

as, Minor A’s phone. (Gov’t’s Ex. 5). 8 Deputy Bennett then took possession of both of

Defendant Walsh’s phones, and he took photographs of the residence. (September 13, 2019,

Motions Hearing, Digital Recording at 11:19–11:29). Deputy Bennett then asked Defendant

Walsh if they could speak privately, and the conversation moved to Defendant Walsh’s bedroom.

(September 13, 2019, Motions Hearing, Digital Recording at 11:19–11:33).

        During the recorded interview in Defendant Walsh’s bedroom, Defendant Walsh told

Deputy Bennett that Ms. Clark had requested if Mr. Clark could borrow Minor A’s phone; that

Defendant Walsh agreed and gave her the phone; and that after providing her the “pin” to get

into Minor A’s phone, she asked Ms. Clark to delete some messages so they would not get them

“confused.” (Gov’t’s Ex. 6 at 1:00–2:00). Defendant Walsh also stated that at some unspecified

point after she had given the phone to Ms. Clark, Defendant Walsh had gotten the phone back

and had it between her legs in the standing position when Mr. Clark grabbed her wrist to move


8
  Government’s Exhibit 5 is a copy of the Aitkin County Sheriff’s Office Consent to Search Form executed by
Defendant Amanda Walsh on February 10, 2019. At the Motions Hearing, the Government, without objection,
offered the copy of the Consent to Search Form into evidence as Government’s Exhibit 5. (September 13, 2019,
Motions Hearing, Digital Recording at 11:23–11:25).

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her arm in order to take Minor A’s phone away from Defendant Walsh again. (Id. at 2:00–3:50,

8:00–10:18). Defendant Walsh explained that the conversations the others had seen were likely

conversations between her, Defendant Gunderson, and Defendant Gunderson’s ex-wife; and,

Defendant Walsh denied having any knowledge about any nude photos of her minor daughter.

(Id. at 12:45–22:18). Defendant Walsh gave Deputy Bennett the “pin” numbers for each of the

three phones, and she also informed him of the “pin” for the mobile application she used to

securely store photographs. (Id. at 22:18–26:40). At the conclusion of the recorded interview,

Deputy Bennett placed Defendant Walsh under arrest. (September 13, 2019, Motions Hearing,

Digital Recording at 11:26–11:29).

       Prior to Deputy Bennett’s recorded conversation with Defendant Walsh, Deputy

Bennett’s partner, Aitkin County Sherriff’s Deputy Nathan Parenteau, arrived on the scene. (See,

Gov’t Ex. 8; Gov’t’s Ex. 7). While Deputy Bennett spoke with Defendant Walsh, Deputy

Parenteau interviewed Dustin and Savannah Clark, as well, as Defendant Walsh’s parents. (See,

Gov’t Ex. 8; Gov’t’s Ex. 7). In addition to the facts as already discussed above, Dustin Clark, at

the conclusion of his interview, informed Deputy Parenteau that he was giving his statement

voluntarily stating, “I’m doing this on my own ‘cause that little girl needs to be protected.”

(Gov’t’s Ex. 8 at 11:30–11:41). During her interview, Samantha Clark indicated that she and

other members of her family had expressed concern as to Defendant Walsh’s ability to be a

qualified parent, and Ms. Clark expressed concern for Minor A’s well-being. (See, Gov’t’s Ex.

7).




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        On February 12, 2019, Deputy Parenteau applied for a State Court search warrant seeking

permission to search the three cell phones seized on February 10, 2019. (Gov’t’s Ex. 9). 9 The

application for a Search Warrant was approved on February 13, 2019. (Id.).

        On February 22, 2019, the Aitkin County Sheriff’s Office contacted Special Agent John

Nordberg (hereinafter “SA Nordberg”) with the Minnesota Bureau of Criminal Apprehension to

assist in the investigation underlying the present case. (September 13, 2019, Motions Hearing,

Digital Recording at 12:42–12:53). After SA Nordberg became involved in the investigation, he

applied for and obtained a State Court search warrant authorizing law enforcement to search

Defendant Gunderson’s residence in Willow River. (Id.; Gov’t’s Ex. 10). 10

        SA Nordberg interviewed Defendant Gunderson on March 1, 2019, at his residence in

Willow River. (September 13, 2019, Motions Hearing, Digital Recording at 12:44–12:53). To

arrange that interview, SA Nordberg “reached out to the Kanabec County Human Services

Department that had a child protection investigation involving [Defendant] Gunderson and asked

them to arrange a meeting with him on Friday, March 1st, around noon.” (Id.). SA Nordberg

testified that he reached out to Kanabec County to arrange the meeting because law enforcement

knew Defendant Gunderson was “transient” with “multiple addresses” and he worked remotely

at different locations around the State of Minnesota. (Id.).

        SA Nordberg testified that he; his partner, Special Agent Adam Wright; and Investigator

Sheryl Cook of the Aitkin County Sheriff’s Officer went to Defendant Gunderson’s Willow


9
  Government’s Exhibit 9 is the warrant application, supporting affidavit, and the warrant to search the three mobile
phones. At the motions hearing, the Government, without objection, offered the warrant application, supporting
affidavit, and warrant into evidence as Government’s Exhibit 9. (September 13, 2019, Motions Hearing, Digital
Recording at 12:25–12:36).
10
   Government’s Exhibit 10 is the warrant application, supporting affidavit, and warrant to search the three mobile
phones seized on February 10, 2019, as well as, two additional mobile phones Defendant Walsh’s mother provided
to law enforcement. At the motions hearing, the Government, without objection, offered the warrant application,
supporting affidavit, and warrant into evidence as Government’s Exhibit 10. (September 13, 2019, Motions Hearing,
Digital Recording at 12:25–12:36).

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River residence to conduct the interview. (September 13, 2019, Motions Hearing, Digital

Recording at 12:44–12:53). SA Nordberg testified that he was wearing a black jacket and pants;

SA Walsh was wearing jeans and a jacket; and Investigator Cook was wearing a jacket and polo

shirt that each read, “Aitkin County Sheriff’s Office,” as well as, “cargo-type pants” with a “duty

belt.” (Id.). All three law enforcement officers were wearing holstered sidearms. (Id.).

        SA Nordberg recorded the entirety of the encounter with Defendant Gunderson. The

recording began before SA Nordberg exited his vehicle at the residence, and it ended after he

exited the residence. (Id. at 12:45–12:53). As SA Nordberg approached the residence, Defendant

Gunderson was on the front porch. (Id. at 12:46–12:52). SA Nordberg introduces himself as “Jon

Nordberg,” and he asks, “can we go inside Matt or is there a place we can talk privately?”

(Gov’t’s Ex. 14 at 00:00–1:30). 11 At the September 13, 2019, Motions Hearing, SA Nordberg

testified that he believed that upon approaching the residence he either showed Defendant

Gunderson his badge on his belt near his firearm or showed him his wallet badge. (September 13,

2019, Motions Hearing, Digital Recording at 1:15–1:23). Defendant Gunderson replied that he

was “waiting for a person from Kanabec County to come talk to” him. (Gov’t’s Ex. 14 at 00:00–

1:30). SA Nordberg then offers to explain the situation, and Defendant Gunderson asks, “is there

something I need to know about before I go in there.” (Id.). SA Nordberg again offers to explain

the situation, and he asks if there is a place they can go to talk quietly. (Id.). Defendant

Gunderson indicates that his grandmother is inside the residence, and he expresses a reluctance

to want to talk around his grandmother. (Id. at 1:00–2:50). SA Nordberg again asks if there is




11
   Government’s Exhibit 14 is a CD audio recording of the entire time SA law enforcement was at Defendant
Gunderson’s residence, including the interview with Defendant Gunderson in his bedroom. At the Motions Hearing,
the Government, without objection, offered the CD audio recording into evidence as Government’s Exhibit 14.
(September 13, 2019, Motions Hearing, Digital Recording at 12:45–12:53). The citations to the audio recording are
in a MM:SS format.

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place where they can go to talk. (Id.). Defendant Gunderson says “yeah,” and he leads the officer

into the residence.

        Upon entering the residence, Defendant Gunderson’s grandmother, Ms. Kwapick, asks

SA Nordberg the purpose of the visit. (Id.). SA Nordberg responds that he and the other officers

want to talk to Matt about a “situation.” (Id.). Ms. Kwapick asks what “the situation is”; why

Defendant Gunderson had not had “papers” served on him; and what was wrong. (Id.). SA

Nordberg states that nothing is wrong with what is going on in Kanabec County, and informs

Ms. Kwapick that Kanabec County personal will come to talk with Defendant Gunderson at a

later time. An unidentified female voice can also be heard telling Ms. Kwapick that this is a

separate issue from the Kanabec County issue, and Defendant Gunderson can be heard telling

Ms. Kwapick that the officers are not from Kanabec County. (Id. at 2:49–5:40). Ms. Kwapick

asks if the visit has to do with the custody of Defendant Gunderson’s children to which SA

Nordberg responds, “no.” (Id.). Lastly, Ms. Kwapick asks what the officers want to talk with

Defendant Gunderson about, and SA Nordberg informs her that the officers would talk with Matt

about that. (Id.).

        Defendant Gunderson then directs SA Nordberg and Investigator Cook to his bedroom

and he retrieved chairs so the three can sit. (September 13, 2019, Motions Hearing, Digital

Recording at 12:48–12:56). Defendant Gunderson placed his chair directly in front of the door

with his back facing the door, and he closed the door. (Id.).

        SA Nordberg began the interview by reintroducing himself, stating he was from the

Minnesota Bureau of Criminal Apprehension, and introducing Investigator Cook as an

Investigator from the Aitkin County Sheriff’s Office. (Gov’t’s Ex. 14 at 2:50–6:30). SA

Nordberg then tells Defendant Gunderson that he is free to leave at any time, that he was not



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under arrest, and that, if he wished, he could tell the officer to leave and “pound sand.” (Id.).

Defendant Gunderson responds that he “wants to get to the bottom of this.” (Id.).

       Defendant Gunderson explained that he met Defendant Walsh on a mobile dating

application, Plenty of Fish, and SA Nordberg asked if Defendant Gunderson still had the phone

which he used for the mobile dating application. (Id. at 6:36–10:00). Defendant Gunderson said

that he did and showed the phone to SA Nordberg who asked if he could see it. (Id.). Defendant

Gunderson responded “Yeah,” and he handed the phone to SA Nordberg (Id.).

       SA Nordberg and Defendant Gunderson then began discussing Defendant Gunderson’s

interactions with Defendant Walsh, Minor A, and the text messages they exchanged. (Id. at

10:00–22:00). Throughout the interview, Defendant Gunderson, SA Nordberg, and Investigator

Cook had several tangential discussions about Defendant Gunderson’s life in general, his

relations with his kids, and his work life. (See, e.g., Id. at 23:00–36:00).

       Approximately forty minutes into the interview, SA Nordberg and Defendant Gunderson

began talking about other electronic devices Defendant Gunderson possessed other than the

mobile phone he had already given SA Nordberg. (Id. at 39:34–47:00). Defendant Gunderson

stated that he also had a laptop downstairs, and SA Nordberg told him that he would likely have

to take the phone and laptop as evidence. (Id.). Defendant Gunderson inquired as to certain

information he needs off of his mobile phone, and SA Nordberg provided him with the requested

contact information off of the mobile phone. SA Nordberg also informed Defendant Gunderson

that Kanabec County Child Protective Services would not be visiting him that day. (Id.).

       SA Nordberg and Defendant Gunderson then went to the basement to retrieve the laptop,

while Investigator Cook took photographs of the rooms. (Id. at 47:00–48:30). When Defendant




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Gunderson gave the laptop computer to SA Nordberg, he told him it was protected by a

password, and he gave SA Nordberg the password. (Id.).

        Investigator Cook, SA Nordberg, and Defendant Gunderson then went into the main

living space of the residence where SA Wright had been sitting with Ms. Kwapick. (Id. at 48:30–

54:00). SA Nordberg again asks Defendant Gunderson if he was giving the computer voluntarily

to which Defendant Gunderson responded in the affirmative stating “no warrant needed.” (Id.).

        The officers then exited the residence. (Id. at 54:00–56:00), and SA Nordberg terminates

the recording.

        After SA Nordberg left Defendant Gunderson’s residence, he contacted Federal and

County prosecutors to discuss how the matter should proceed. (September 13, 2019, Motions

Hearing, Digital Recording at 1:01–1:12).             The prosecutors whom SA Nordberg contacted

expressed a concern that Defendant Gunderson should be taken “into custody for public safety

reasons.” (Id.). SA Nordberg returned to Defendant Gunderson’s residence to arrest him;

however, Defendant Gunderson was no longer at the residence. (Id.). County law enforcement

officers located Defendant Gunderson the following day, and he was placed under arrest. (Id.).

        On March 6, 2019, Investigator Cook applied for, and was granted, a State Court search

warrant providing law enforcement with permission to search the Facebook accounts of

Defendant Walsh and Defendant Gunderson. (Gov’t’s Ex. 13). 12 On March 8, 2019, SA

Nordberg applied for, and was granted, a State Court search warrant permitting law enforcement

to search the contents of the laptop computer and cell phone seized from Defendant Gunderson




12
  Government’s Exhibit 13 is the warrant application, supporting affidavit, and warrant to search Defendants’
Facebook accounts. At the motions hearing, the Government, without objection, offered the warrant application,
supporting affidavit, and warrant into evidence as Government’s Exhibit 12. (September 13, 2019, Motions Hearing,
Digital Recording at 12:25–12:36).

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on March 1, 2019. (Gov’t’s Ex. 11). 13 On March 11, 2019, SA Nordberg applied for, and was

granted, a further search warrant seeking all data retained by TextNow, Inc. in reference to two

particular phone numbers. (Gov’t’s Ex. 12). 14

II.     Defendants’ Motions to Sever. [Docket Nos. 44, 54].

        Defendant Gunderson moves to sever his case from that of his co-Defendant, Amanda

Walsh, pursuant to Federal Rule of Criminal Procedure 14. (Def. Gunderson’s Mot. [Docket No.

44]). Defendant Gunderson only generically asserts in his motion that a “jury will have

insurmountable difficulty distinguishing the alleged acts of each defendant” and “[e]vidence may

be introduced by each defendant that would be inadmissible against other defendants . . . .” (Id.).

        Defendant Walsh also moves to sever her case from her co-Defendant, Matthew

Gunderson, pursuant to Federal Rule of Criminal Procedure 14. (Def. Walsh’s Mot. [Docket No.

54]). In support of her Motion, Defendant Walsh contends simply that the trials should be

severed because the Defendants will offer conflicting defenses at trial, and a jury instruction

would be insufficient to protect against the prejudicial effect which could occur. (Def. Walsh’s

Mem., [Docket No. 70], at 4–5). 15




13
   Government’s Exhibit 11 is the warrant application, supporting affidavit, and the warrant to search the laptop
computer and mobile phone. At the motions hearing, the Government, without objection, offered the warrant
application, supporting affidavit, and warrant into evidence as Government’s Exhibit 11. (September 13, 2019,
Motions Hearing, Digital Recording at 12:25–12:36).
14
   Government’s Exhibit 12 is the warrant application, supporting affidavit, and the warrant pertaining to the
TextNow accounts. At the motions hearing, the Government, without objection, offered the warrant application,
supporting affidavit, and warrant into evidence as Government’s Exhibit 12. (September 13, 2019, Motions Hearing,
Digital Recording at 12:25–12:36).
15
   The Court notes that Defendant Walsh improperly filed a Reply memorandum purporting “to provide more detail
regarding the reason that it would be prejudicial to have her trial alongside [Defendant] Gunderson.” (Reply [Docket
No. 74]). The undersigned will not consider Defendant Walsh’s Reply memorandum. At the September 13, 2019,
Motions Hearing, the parties requested the opportunity to provide the Court with supplemental briefing on the issues
presented in the Defendants’ dispositive Motions. The Court granted that request, and the undersigned established a
briefing schedule. That schedule did not provide for a Reply memorandum, and in fact, there was no request for
reply briefing submitted to the Court. Thus, the Court will not consider Defendant Walsh’s Reply memorandum.
The Court notes, however, that even if the Court were to consider the Reply memorandum, it would not alter the
present recommendation.

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        In response to Defendants’ Motions to Sever, the Government contends that the

Defendants are properly joined and that a joint trial in this case serves the interest of justice, and

it further contends that the issue of severance of Defendants is premature at the present time.

(See, Gov’t’s Resp. to Defs.’ Mots., [Docket No. 56], at 5–8).

        Federal Rule of Criminal Procedure 8(b) provides:

        The indictment or information may charge 2 or more defendants if they are
        alleged to have participated in the same act or transaction, or in the same series of
        acts or transactions, constituting an offense or offenses. The defendants may be
        charged in one or more counts together or separately. All defendants need not be
        charged in each count.

        Federal Rule of Criminal Procedure 14(a), however, provides: “If the joinder of offenses

or defendants in an indictment, an information, or a consolidation for trial appears to prejudice a

defendant or the government, the court may order separate trials of counts, sever the defendants’

trials, or provide any other relief that justice requires.”

        There is a preference in the federal system for joint trials of defendants who are
        indicted together. This preference is especially compelling when the defendants
        are charged as coconspirators. It is well settled in this circuit that a motion for
        relief from an allegedly prejudicial joinder of charges or defendants raises a
        question that is addressed to the judicial discretion of the trial court . . . .

United States v. Benton, 890 F.3d 697, 713–14 (8th Cir. 2018) (internal quotations omitted).

        Accordingly, if joinder is proper under Rule 8, a defendant seeking severance has
        the heavy burden of demonstrating that a joint trial will impermissibly infringe his
        right to a fair trial. United States v. Warfield, 97 F.3d 1014, 1019 (8th Cir. 1996).
        It is well settled that defendants are not entitled to severance merely because they
        may have a better chance of acquittal in separate trials. Zafiro v. United States,
        506 U.S. 534, 540 (1993) (citations omitted) . . . .

        A defendant seeking to sever his trial must therefore show that a joint trial would
        cause real prejudice. United States v. Mickelson, 378 F.3d 810, 817-18 (8th Cir.
        2004). Real prejudice exists when (a) [a defendant’s] defense is irreconcilable
        with that of his co-defendant or (b) the jury will be unable to compartmentalize
        the evidence as it relates to the separate defendants.




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United States v. McConnell, No. 13-cr-273 (SRN/FLN), 2017 WL 111304, *3 (D. Minn. Jan. 11,

2017) (quotations omitted).

       For example, in Bruton v. United States, 391 U.S. 123, 124 (1968), the petitioner and a

co-defendant had been convicted of armed robbery in a joint trial after a postal inspector testified

that Bruton’s codefendant had confessed and had “expressly implicat[ed]” the petitioner. Id. at

n.1. The trial court instructed the jury that the co-defendant’s confession “if used, can only be

used against the [co-defendant]. It is hearsay insofar as the [petitioner] is concerned, and you are

not to consider it in any respect to the [petitioner], because insofar as he is concerned it is

hearsay.” Id. at 125 n. 2. The Supreme Court, however, concluded that:

       [T]he introduction of [the co-defendant’s] confession posed a substantial threat to
       the petitioner’s right to confront the witnesses against him, and this is a hazard we
       cannot ignore. Despite the concededly clear instructions to the jury to disregard
       [the co-defendant’s] inadmissible hearsay evidence inculpating petitioner, in the
       context of a joint trial we cannot accept limiting instructions as an adequate
       substitute for petitioner’s constitutional right of cross-examination. The effect is
       the same as if there had been no instruction at all.

Id. at 137. For that reason, the Supreme Court reversed the petitioner’s conviction in Bruton. Id.

at 126, 137.

       However, even the Bruton Court suggested that redaction from co-conspirator testimony

may be sufficient to cure any prejudice caused by the introduction of a co-defendant’s

incrimination statement, and acknowledged that “[n]ot every admission of inadmissible hearsay

or other evidence can be considered to be reversible error unavoidable through limiting

instructions.” Id. at 134 n. 10, 135. In Richardson v. Marsh, 481 U.S. 200 (1987), the Supreme

Court further distinguished between co-defendant statements that are “facially incriminating,”

and statements which merely are “incriminating by connection.” Id. at 209. When a co-

defendant’s statement is facially incriminating of the defendant, redaction or even severance may



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be required because it is more difficult for jurors to set aside such evidence. Id. at 208. However,

the Court rejected the suggestion that the rule in Bruton extend to confessions that are

incriminating by connection as both impractical and unnecessary. Id. at 208–09.

       In the present case, Defendant Gunderson fails to offer any specific assertions as to how

his defense may be irreconcilable with that of Defendant Walsh nor why a jury would be unable

to compartmentalize the evidence as it relates to the separate Defendants. Defendant Walsh only

generally asserts that she may raise a defense at trial which will conflict with Defendant

Gunderson’s defense; however, she too fails to offer any specific assertions as to why possible

redactions or a limiting jury instruction would fail to cure any perceived potential prejudice.

       The undersigned finds that, at the present time, the Defendants’ have failed to make any

persuasive specific argument or showing as to why a jury in the present case would either fail to

understand potential limiting instructions, would otherwise be unable to appropriately

compartmentalize the evidence before it, especially if presented with redacted evidence as

necessary.

       As set forth above, there is a strong preference in the Federal system for joint trials. In

light of that preference, and at this early juncture, severance is not appropriate at this time.

“Severance is a remedy that can be provided at the time of trial if appropriate under the

circumstances.” United States v. Rios-Quintero, No. 16-cr-161(1) (MJD/LIB), 2016 WL

6134545, at *13 (D. Minn. Sept. 9, 2016) (quoting United States v. Billups, 442 F. Supp. 2d 697,

706 (D. Minn. 2006)). If circumstances change in the future, Defendants remain free to renew

their motions to sever at a more appropriate time. See, Billups, 442 F. Supp. 2d at 706.




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        Therefore, the undersigned recommends that both Defendant Gunderson’s Motion to

Sever, [Docket No. 44], and Defendant Walsh’s Motion to Sever, [Docket No. 54], be DENIED

without prejudice.

III.    Defendant Gunderson’s Motion to Suppress Statements. [Docket No. 45].

        Defendant Gunderson’s Motion to Suppress Evidence, [Docket No. 45], seeks an Order

of this Court suppressing his March 1, 2019, statements. Defendant Gunderson argues that the

statements should be suppressed because “his statement was obtained in violation of Miranda v.

Arizona,” 384 U.S. 436 (1966), and in the alternative, as “fruit of the poisonous tree” because

“his statement is the product of an unconstitutional entry into his residence.” (Def. Gunderson’s

Mem., [Docket No. 68], at 5).

        A. Miranda

        Defendant Gunderson contends his statements on March 1, 2019, should be suppressed

pursuant to Miranda because his “freedom of movement was not unrestrained”; because “law

enforcement initiated the contact with” him; because “law enforcement purposefully set up a

ruse in order to get” him “to be at the house on March 1, 2019”; because “the entire

interrogations was controlled be law enforcement”; and because “it is reasonable to conclude that

the assurance that he was not under arrest was only meant to give [him] a false sense of

security.” (Def.’ Gunderson’s Mem., [Docket No. 68], at 7–9).

                1. Standard of Review

        “[Miranda] prohibits the government from introducing into evidence statements made by

the defendant during a custodial interrogation unless the defendant has been previously advised

of his [F]ifth [A]mendment privilege against self-incrimination and right to an attorney.” United

States v. Chipps, 410 F.3d 438, 445 (8th Cir. 2005) (citing Miranda v. Arizona, 384 U.S. 436,



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444 (1966)). Accordingly, Miranda warnings are required for official interrogations where a

person has been “taken into custody or otherwise deprived of his freedom of action in any

significant way[.]” Stansbury v. California, 511 U.S. 318, 322 (1994) (quoting Miranda, 384

U.S. at 444). “Interrogation under Miranda includes not only express questioning but also its

functional equivalent, such as ‘any word or actions on the part of the police (other than those

normally attendant to arrest and custody) that the police should know are reasonably likely to

elicit an incriminating response from the suspect.” United States v. Hull, 419 F.3d 762, 767 (8th

Cir. 2005) (quoting Rhode Island v. Innis, 466 U.S. 291, 300–01 (1980)).

                 2. Analysis

       As noted, Miranda warnings are required for official interrogations where a person has

been “taken into custody or otherwise deprived of his freedom of action in any significant

way[.]” Stansbury, 511 U.S. at 322 (quoting Miranda, 384 U.S. at 444); United States v.

McGlothen, 556 F.3d 698, 701 (8th Cir. 2009) (citing United States v. Londondio, 420 F.3d 777,

783 (8th Cir. 2005)). It is undisputed that SA Nordberg’s express questioning of Defendant

Gunderson on March 1, 2019, constituted interrogation. Accordingly, the sole issue now before

the Court is whether Defendant Gunderson was in custody for the purpose of Miranda during his

interview by SA Nordberg on March 1, 2019. See, e.g., United States v. Axsom, 289 F.3d 496,

500 (8th Cir. 2002) (“[T]he undisputed facts establish that [the officers] were interrogating [the

defendant]. To determine whether Miranda rule applies, we must examine whether [the]

interrogation was custodial.”)

       The Eighth circuit has explained:

       [W]e outline six common indicia of custody which tend either to mitigate or
       aggravate the atmosphere of custodial interrogation. The indicia are: (1) whether
       the suspect was informed at the time of questioning that the questioning was
       voluntary, that the suspect was free to leave or request the officers to do so, or that


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       the suspect was not considered under arrest; (2) whether the suspect possessed
       unrestrained freedom of movement during questioning; (3) whether the suspect
       initiated contact with authorities or voluntarily acquiesced to official requests to
       respond to questions; (4) whether strong arm tactics or deceptive stratagems were
       employed during the questioning; (5) whether the atmosphere of the questioning
       was police dominated; or, (6) whether the suspect was placed under arrest at the
       termination of the questioning.

       The first three indicia are mitigation factors, which, if present, mitigate against the
       existence of custody at the time of questioning. Conversely, the last three indicia
       are aggravating factors which, if present, aggravate the existence of custody. We
       have emphasized these six indicia of custody are representative and are not
       exclusive. A finding of custody does not require the factual circumstance of a case
       to present all indicial; and a particular strong showing of one factor may
       compensate for a lesser or non-existent showing of another factor.

Id. at 500–01 (citations omitted). “These factors, however, are not exclusive, and custody cannot

be resolved merely by counting up the number of factors on each side of the balance and

rendering a decision accordingly.” United States v. Flores-Sandoval, 474 F.3d 1142, 1147 (8th

Cir. 2007) (citations and quotation marks omitted). “The analysis depends upon a review of the

totality of the circumstances, and [t]he ultimate test is whether a reasonable person in that

position would have felt free to end the interview.” United States v. Sanchez, 676 F.3d 627, 630–

31 (8th Cir. 2012) (citations and quotations omitted) (alterations in Sanchez).

       The first factor weighs heavily in favor of a finding that the suspect is not in custody

when officers clearly inform the suspect that he is free to leave or decline questioning. Id. at 631.

In the present case, this factor weighs strongly, if not controllingly, in favor of finding that

Defendant was not in custody as SA Nordberg began the interview by expressly telling

Defendant Gunderson that he was free to leave and he was not under arrest, and nonetheless,

Defendant Gunderson voluntarily agreed to speak with SA Nordberg indicating he just “wanted

to get to the bottom of this.” See, United States v. Perrin, 659 F.3d 718, 721 (8th Cir. 2011)

(noting that the Eighth Circuit Court of Appeals has “never held that a person was in custody



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after” the person was informed he was free to leave and did not have to answer questions)

(emphasis added) (citing United States v. Czichray, 378 F.3d 822, 826 (8th Cir. 2004), cert.

denied, 544 U.S. 1060 (2005)); United States v. Ollie, 442 F.3d 1135, 1138 (8th Cir. 2006)

(“While advising someone that he or she is not under arrest helps to mitigate an interview’s

custodial nature, an explicit assertion that the person may end the encounter is stronger medicine.

Such a statement provides an individual with a clear understanding of his or her rights and

generally removes any custodial trappings from the questioning.”) (citing United States v.

Czichray, 378 F.3d 822, 826 (8th Cir. 2004), cert. denied, 544 U.S. 1060 (2005)). Accordingly,

the fact SA Nordberg clearly and plainly informed Defendant Gunderson that he was not under

arrest, told Defendant Gunderson that he could tell law enforcement to “pound sand,” and that he

was free to leave strongly mitigates in favor of finding that Defendant Gunderson was not in

custody. See, Ollie, 442 F.3d at 1138.

       For the purposes of considering whether Defendant Gunderson possessed the freedom to

move about during the interview on March 1, 2019, the inquiry here is how it would have

objectively appeared to someone in Defendant Gunderson’s position regarding whether or not he

had freedom of movement. See, United States v. Rosenblum, No. 7-cr-294 (JRT/FLN), 2008 WL

608297, at *5 (D. Minn. Jan. 16, 2008) (quoting Axsom, 289 F.3d at 503). Here, SA Nordberg

specifically informed Defendant Gunderson that he was free to leave; however, there is no

indication in the record that Defendant Gunderson actually ever attempted to leave after the

interview commenced. Nonetheless, the Court notes that after law enforcement entered

Defendant Gunderson’s residence and Defendant Gunderson directed SA Nordberg and

Investigator Cook to his bed room, Defendant Gunderson actually left SA Nordberg and

Investigator Cook in his bed room while he retrieved chairs from other parts of the house for the



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three to use. On the present record, therefore, this second mitigating factor too weighs against a

finding that Defendant was in custody. See, Ollie, 442 F.3d at 1138.

       The third factor, which addresses whether Defendant Gunderson initiated contact with the

police or voluntarily acquiesced to the questioning by the police, mitigates in favor of finding

that Defendant Gunderson was not in custody as Defendant voluntarily agreed to speak with law

enforcement. See, Axsom, 289 F.3d at 501 (concluding that the third factor mitigated a finding

that the defendant had been in custody where he voluntarily acquiesced to police questioning). In

the present case, SA Nordberg from the outset told Defendant Gunderson he was free to leave at

any time and free to tell law enforcement to “pound sand,” and Defendant Gunderson,

nonetheless, then voluntarily agreed to speak with SA Nordberg and Investigator Cook stating

that he “want[ed] to get to the bottom of this.”

       Defendant Gunderson argues that his agreement was not “voluntary acquiescence”

because law enforcement “refused” to tell him why they were at his residence before he agreed

to speak with them. First, this assertion is not supported by the factual record presently before the

Court. When the officers initially approached the residence, Defendant Gunderson asked if they

were there to discuss the Kanabec County Child Protection Services matter, as well as, if there

was anything of which he need to be aware before they entered the residence where his

grandmother was located. In response to both inquires, SA Nordberg offered to explain the

situation. Law enforcement did not “refuse” to answer Defendant Gunderson’s questions. SA

Nordberg offered to explain the situation, and he asked if there was somewhere they could talk

when Defendant Gunderson seemed apprehensive about discussing the matter around his

grandmother. Second, Defendant Gunderson fails to proffer, and this Court does not find, any

legal authority supporting his assertion that law enforcement officers are required to inform a



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person as to the specific topic of the conversation before a person may voluntarily agree to speak

with law enforcement. Therefore, the Court finds that the third factor too mitigates in favor of

finding that Defendant Gunderson was not in custody.

       The fourth factor, which addresses whether law enforcement used strong arm tactics or

deceptive stratagems against a suspect during the questioning, does not aggravate in favor of

finding that Defendant Gunderson was in custody during the March 1, 2019, interview. The

Court finds no evidence on the present record, and none has been pointed out to it, of any strong

arm tactics or deceptive stratagems being used against the Defendant during the March 1, 2019,

interview.

       Defendant Gunderson contends that this fourth factor weighs in favor of finding he was

in custody because law enforcement used the “ruse” of a meeting with Kanabec County Child

Protection Services to ensure Defendant Gunderson would be at the residence at a prearranged

time, and he was unaware of the true purpose of the visit until he was in his bedroom. The

undersigned finds this argument unpersuasive. First, the factual record now before the Court

indicates that Defendant Gunderson knew from their initial contact at the residence that the law

enforcement officials at his residence on March 1, 2019, were not from Kanabec County well

before he directed SA Nordberg and Investigator Cook into his bedroom. SA Nordberg’s

testimony at the September 13, 2019, Motions Hearing provided that Investigator Cook was

wearing a jacket and polo shirt which each read, “Aitkin County Sheriff’s Office”, and that SA

Nordberg believed that upon approaching the residence he either showed Defendant Gunderson

his badge on his belt near his firearm or showed him his wallet badge. Defendant Gunderson

takes issue with the fact that SA Nordberg cannot be heard on the recording presenting his badge

to Defendant Gunderson; however, other than idle speculation, there is nothing in the record to



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suggest that SA Nordberg did not display his badge to Defendant Gunderson upon walking up to

the residence. Moreover, Defendant Gunderson’s comments to Ms. Kwapick well before any

questioning began that the officers where not from Kanabec County makes evident that he was in

fact aware the law enforcement officers where not from Kanabec County Child Protection

Services before he agreed to answer questions from SA Nordberg.

       Defendant Gunderson next contends that the fifth factor, which addresses whether the

questioning took place in a “police dominated atmosphere,” aggravates in favor of finding that

he was in custody during the interview, arguing “the entire interrogation [being] controlled by

law enforcement” and police taking control of his residence created a “police dominated

atmosphere.” The undersigned finds this argument likewise unpersuasive on the basis of the

present record.

       Defendant Gunderson’s argument that a police dominated atmosphere was created by SA

Nordberg directing the interrogation appears to be based on a misreading of the relevant factors.

The question is not whether or not law enforcement controlled the flow of the interrogation but

rather, whether the atmosphere in which the questioning occurred was police dominated.

Defendant Gunderson fails to articulate, and this Court does not find, any legal authority to

support his contention that a police dominated atmosphere is created by a law enforcement

officer simple being the person who asks the questions in an interview.

       Further, Defendant Gunderson was interviewed at his own home, in his own bedroom,

and he is in fact the one who both chose the bedroom as the location of the interview and closed

the door before beginning. “When a suspect is interrogated in the comfort and familiarity of his

home, a court is less likely to find the circumstances custodial.” Axsom, 289 F.3d at 502 (citing

United States v. Erving L., 147 F.3d 1240, 1247 (10th Cir. 1998)); see, United States v. Wallace,



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323 F.3d 1109, 1113 (8th Cir. 2003) (noting that interview occurring in a workplace was taking

place in a familiar location where the interviewee would feel more comfortable and less

threatened); United States v. Perrin, 659 F.3d 718, 721 (8th Cir. 2011). In addition, although

there was one additional officer in the residence while SA Nordberg and Investigator Cook

interviewed Defendant Gunderson, the Eighth Circuit has found that the presence of an even

greater number of officers in the home of an interviewed suspect did not render an interview

custodial. See, Axsom, 289 F.3d at 501 (concluding that the mere presence of nine officers in the

suspect’s home was not sufficient to find that the atmosphere was police dominated); United

States v. Perrin, 659 F.3d 718, 721 (8th Cir. 2011). Likewise, this Court has previously found

that the presence of two officers with a single defendant in a room smaller than Defendant

Gunderson’s bedroom did not create a “police dominated atmosphere.” See, e.g., United States v.

Lofald, No. 15-cr-70 (ADM/LIB), 2015 WL 4636631, at *20 (D. Minn. Aug. 3, 2015).

Accordingly, the fifth factor does not aggravate in favor of Defendant Gunderson being in

custody during the interview.

       Defendant Gunderson argues that the sixth factor, which addresses whether Defendant

was arrested at the end of the interview, “is neutral at best” because “it is reasonable to conclude

that the assurance that he was not under arrest was only meant to give [Defendant] Gunderson a

false sense of security and to not ask for the assistance of an attorney.” (Def. Gunderson’s Mem.,

[Docket No. 68], at 9). Here again, on the present record, the undersigned is not persuaded.

       In the present case, Defendant Gunderson was in fact not arrested upon the conclusion of

his March 1, 2019, interview. Likewise, at no time before, during, or after the interview was

Defendant Gunderson ever handcuffed or in any way physically restrained by law enforcement

officers. Defendant Gunderson, without the benefit of any legal citation, argues that SA



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Nordberg returning to the residence an hour or two later to attempt to arrest Defendant

Gunderson is substantially similar to Defendant being arrested at the conclusion of an interview.

However, SA Nordberg specifically testified that he only returned to attempt to arrest Defendant

Gunderson after he had conferred with County and Federal prosecutors who expressed their

independent concern for public safety. It was not SA Nordberg’s personal intention to arrest

Defendant Gunderson at the conclusion of the interview; that decision was only reached after SA

Nordberg had left the residence and he had conferred with prosecutors. Further, Defendant was

not even arrested when SA Nordberg returned to the residence on March 1, 2019, because

Defendant was not then at the residence when SA Nordberg returned. Defendant Gunderson was

not arrest until the following day.

       Moreover, both the Supreme Court of the United States and the Eighth Circuit have held

that “[a] policeman’s unarticulated plan has no bearing on the question whether a suspect was ‘in

custody’ at a particular time; the only relevant inquiry is how a reasonable man in the suspect’s

position would have understood his situation.” Berkemer v. McCarty, 468 U.S. 420, 442 (1984);

United States v. Griffin, 922 F.2d 1343, 1356 (8th Cir. 1990) (quoting Berkemer, 468 U.S. at

442); United States v. Clark, No. 15-cr154 (DWF/LIB), 2015 WL 4964665, at *5 (D. Minn.

Aug. 19, 2015); United States v. Perrin, 659 F.3d 718, 721 (8th Cir. 2011). Accordingly, it is

irrelevant that SA Nordberg later returned to the residence at the direction of prosecutors in an

attempt to arrest Defendant Gunderson. The simple fact of the matter is that SA Nordberg clearly

and objectively informed Defendant Gunderson prior to the Mach 1, 2019, interview that he was

not under arrest, and in fact, SA Nordbeg did not arrest Defendant Gunderson at the conclusion

of the interview. Thus, the Court concludes that the sixth factor does not aggravate in favor of

Defendant Gunderson being in custody during the interview.



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       Upon consideration of the “totality of the circumstance”, the Court concludes that a

reasonable person in Defendant Gunderson’s position would have objectively felt free to

terminate the interview and, as such, Defendant Gunderson was not in custody during the March

1, 2019, interview. Because Defendant Gunderson was not in custody for the purposes of

Miranda, the absence of a formal Miranda warning does not entitle Defendant Gunderson to have

the statements he made during that interview suppressed.

       B. Fruit of the Poisonous Tree

       Defendant Gunderson also argues that his statement during the March 1, 2019, interview,

was “the product of an unconstitutional entry into his residence,” and therefore, his statement

must be suppressed as the “fruit of the poisonous tree.” (Def. Gunderson’s Mem., [Docket No.

68], at 9–15). Defendant Gunderson argues that “[i]t stretches credulity to suggest that [he] could

knowingly consent to law enforcement’s entry into the residence when” SA Nordberg “set up a

ruse with the cooperation of Kanabec County Social Services to falsely make [Defendant]

Gunderson believe that social services was going to be meeting with him at noon on March 1,

2019, and not three law enforcement officers.” (Id. at 10–11).

       As already discussed above, however, this argument is unsupported by the factual record

presently before the Court. Although SA Nordberg had Kanabec County Child Protection

Services contact Defendant Gunderson to arrange the meeting, Defendant Gunderson was aware

that SA Nordberg, Investigator Cook, and SA Wright were not from Kanabec County upon their

initial contact with him and before he provided consent for them to enter the residence.

Investigator Cook was wearing a jacket and shirt which each read, “Aitkin County Sheriff’s

Office,” and SA Nordberg testified that he either showed his belt or wallet badge to Defendant

Gunderson upon first approaching the residence’s porch. Moreover, Defendant Gunderson’s own



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conduct well in advance of the interview also demonstrates he knew the officers were not from

Kanabec County as he specifically told his grandmother that the officer were not from Kanabec

County.

       Moreover, Courts have determined that “[e]ven if agents employ a false identity . . . [a]

voluntary admission permits an agent to enter private premises to gather information.” United

States v. Shabazz, 883 F. Supp. 422, 427 (D. Minn. 1995) (citing United States v. Wagner, 884

F.2d 1090, 1094–95 (8th Cir. 1989)). Additionally, “[t]he Eighth Circuit has determined that one

who consents to an undercover agent’s entry into his or her home has no legally enforceable

expectation that the agent is not an undercover police agent.” Shabazz, 883 F. Supp. at 427

(citing Wagner, 884 F.2d at 1094–95).

       In the present case, Defendant Gunderson specifically and affirmatively permitted readily

apparent law enforcement officers entry into his residence. This represents a constitutionally

permissive entry by the officers even if Defendant was unaware before Mach 1, 2019, that law

enforcement officers rather than Kanabec County Child Protection Services would be coming to

his residence. See, e.g., United States v. Wagner, 884 F.2d 1090, 1094–95 (8th Cir. 1989) (“In

Lewis v. United States, 385 U.S. 206, 87 S.Ct. 424, 17 L.Ed. 2d 312 (1966), the Supreme Court

held that the Fourth Amendment does not categorically prohibit a law enforcement agent from

gaining entry into private homes by misrepresenting his identity.”); United States v. Shabazz,

883 F. Supp. 422, 427 (D. Minn. 1995); United States v. Shigemura, 682 F.2d 699, 701 (8th Cir.

1982); United States v. Robinson, 720 F.2d 18, 19 (8th Cir. 1983); United States v. Davis, 646

F.2d 1298, 1301 (8th Cir. 1981); United States v. Raines, 536 F.2d 796, 799–802 (8th Cir. 1976).

       Not only is the record now before the Court devoid of evidence tending to show any use

of force or intimidation by law enforcement to gain entry into Defendant Gunderson’s residence,



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but what evidence there is indicates that Defendant Gunderson opened his door and admitted the

officers into the residence after he had affirmatively agreed to speak with them. Because

Defendant Gunderson consented to the entry, it was constitutionally permissive. See, United

States v. Hampton, 260 F.3d 832, 835 (8th Cir. 2001).

       Accordingly, the Court finds unpersuasive Defendant Gunderson’s argument that his

statement during the March 1, 2019, interview should be suppressed as the fruit of the poisonous

tree resulting from a constitutionally infirm initial entry by law enforcement into his residence.

       Therefore, based on the foregoing, the undersigned recommends that Defendant

Gunderson’s Motion to Suppress Statements, [Docket No. 45], be DENIED.

IV.    Defendant Gunderson’s Motion to Suppress Evidence. [Docket No. 46].

       Defendant Gunderson’s Motion to Suppress Evidence, [Docket No. 46], seeks an Order

of this Court suppressing all the evidence seized through the execution of the search warrants on

his cell phone and laptop computer. Defendant Gunderson’s sole argument in support of this

Motion, however, is the exact same argument he raised in support of his contention that his

March 1, 2019, statements should be suppressed as the fruit of the poisonous tree: that the search

warrants were the product of an unconstitutional initial entry into the residence through the use

of subterfuge.

       The undersigned has already considered and rejected this argument. That discussion will

not be repeated here. Suffice it to say that, for the same reasons discussed above, Defendant

Gunderson’s argument is unsupported by the law or the facts of this case, and law enforcement’s

initial entry into the residence on March 1, 2019, was constitutionally permissible.

       Defendant Gunderson does not allege that the Search Warrants themselves lacked

probable case. Besides his argument that the search warrants were based on an “illegal entry”



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Defendant Gunderson fails to offer any other basis in support of his Motion to Suppress

Evidence.

          Therefore, based on the foregoing, the undersigned recommends that Defendant

Gunderson’s Motion to Suppress Evidence, [Docket No. 46], be DENIED.

V.        Defendant Walsh’s Motion to Suppress Evidence. [Docket No. 52].

          Defendant Walsh’s Motion to Suppress Evidence, [Docket No. 52], seeks an Order of this

Court suppressing any evidence obtained as a result of the search of Minor A’s phone, as well as,

Defendant Walsh’s mobile phones and her TextNow account. (See, Def. Walsh’s Mem., [Docket

No. 70], at 4). Defendant Walsh argues that the evidence obtained as a result of the search of

Minor A’s mobile phone must be suppressed because it “was withheld from her by Dustin Clark

and subject to an illegal search and seizure while he was acting as an agent of the government,”

and the “other devices in this case must be suppressed as fruit of that initial illegal search.” (Id. at

1). 16

          The Government argues that Dustin Clark was acting as a private citizen at all relevant

times, and under the private search doctrine, the Fourth Amendment was not implicated by his

search of the phone. (See, Gov’t’s Mem., [Docket No. 73], at 15–20).

          The Fourth Amendment guarantees the “right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures,” and that “no warrants

shall issue, but upon probable cause, supported by Oath or affirmation.” U.S. Const. Amend. IV.

The Fourth Amendment’s protections apply only to government actions, or those acting at the

direction of government officials. See, e.g., United States v. Jacobsen, 466 U.S. 109, 113 (1984).


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  Defendant Walsh initially “raised a four-corners challenge to numerous search warrants”; however, on October
15, 2019, she filed a letter on this Court’s docket “withdraw[ing] her four-corners challenge to the search warrants.”
(Letter [Docket No. 69]). Defendant’s sole challenge to the search warrants now is that they are the fruit of the
purported illegal search and seizure of Minor A’s phone. (See, Def. Walsh’s Mem. [Docket No. 70]).

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The Fourth Amendment “is wholly inapplicable ‘to a search or seizure, even an unreasonable

one, effected by a private individual not acting as an agent of the Government or with the

participation or knowledge of any governmental official.’” Id. at 113–14 (quoting Walter v.

United States, 447 U.S. 649, 662 (1980)). However, the Fourth Amendment does protect

“against such instructions if the private party acted as an instrument or agent of the

Government.” Skinner v. Ry. Labor Execs.’ Ass’n, 489 U.S. 602, 614 (1989).

       As the Eighth Circuit Court of Appeals recently reiterated, when assessing whether a

seizure was conducted by      private action, Courts consider three factors: “[1] whether the

government had knowledge of and acquiesced in the intrusive conduct; [2] whether the citizen

intended to assist law enforcement or instead acted to further his own purposes; and [3] whether

the citizen acted at the government’s request.” United States v. Highbull, 894 F.3d 988, 993 (8th

Cir. 2018) (alteration in original). It is the defendant who “bears the burden of proving by a

preponderance of the evidence that a private party acted as a government agent.” Id.

       A. Whether the Government Had Knowledge of and Acquiesced in the Intrusive

           Conduct

       Defendant Walsh argues that “at the time the phone was shown to Dep[uty] Bennett,

Dustin [Clark] was no longer acting in his capacity as a private citizen, but as a government

agent” because Dustin had explicitly told the dispatcher that he and the others had seized

Defendant “Walsh and were not allowing her to leave, and the dispatcher ‘acquiesced in the

intrusive conduct’” of which Deputy “Bennett was fully aware” as well. (Def. Walsh’s Mem.,

[Docket No. 70], at 3). The Court does not find Defendant Walsh’s argument compelling.

       In the instant case, Defendant Walsh initially gave Minor A’s voluntarily phone to

Savannah Clark, and Ms. Clark gave it to Dustin Clark. Mrs. Clark and Mr. Clark then looked



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through Minor A’s phone, and they discovered independently the content which caused them to

contact law enforcement. After Defendant Walsh tried to take back Minor A’s phone, Dustin

Clark again independently took it from Defendant Walsh. This all occurred before Dustin Clark

called 911. The 911 operator simply could not have acquiesced in Dustin Clark’s conduct

because Dustin Clark had already searched Minor A’s phone and had already re-taken it from

Defendant Walsh at the time he called 911. The same is true of Deputy Bennett. At the time

Deputy Bennett arrived at the residence and Dustin Clark showed him the phone, Dustin Clark

had already re-taken Minor A’s phone from Defendant Walsh and independently searched it

multiple times.

       Defendant Walsh appears to argue that Deputy Bennett had knowledge of the “intrusive

conduct” and “implicitly endorsed it” because Deputy Bennet “knew that Dustin had no

permission to scroll through” Minor A’s “phone, but he stood by and let Dustin commit the

search for him . . . .” (Def. Walsh’s Mem., [Docket No. 70], at 3–4). Here too, the Court finds

Defendant’s argument to be unpersuasive.

       First, Defendant’s purported factual assertion that Deputy Bennet knew that Dustin

lacked permission to scroll through Minor A’s phone is unsupported by the record presently

before the Court. There is no indication that when Deputy Bennett arrived on scene Defendant

Walsh was still actively insisting the phone be returned to her. In fact, the record reflects that

when Deputy Bennett arrived, Defendant Walsh was somewhere inside the residence. Further,

Deputy Bennett testified at the September 13, 2019, Motions Hearing that police dispatch had

not informed him of any dispute regarding the possession or ownership of a cell phone; he was

only informed that a disturbance or altercation “of some kind” had occurred and that some

images had been found on a cell phone.



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       Moreover, even assuming solely for the sake of argument that Dustin Clark had

wrongfully taken Minor A’s phone from Defendant Walsh and Deputy Bennett knew it, Dustin

Clark’s status as a private actor in taking Minor A’s phone, whether “innocent or deliberate . . .

reasonable or unreasonable,” does not violated the Fourth Amendment. United States v.

Jacobsen, 466 U.S. 109, 115 (1984). Even if, Deputy Bennett knew Dustin Clark had previously

improperly taken Minor A’s phone from Defendant Walsh at the time Dustin Clark showed him

the phone, that does not mean Deputy Bennett acquiesced before hand in the intrusive conduct

by Dustin Clark. See, United States v. Highbull, 894 F.3d 988, 992–93 (8th Cir. 2018) (affirming

a district court ruling that a cell phone stolen by a private actor from the defendant’s car and then

given to police was admissible under the private actor exception); United States v. Jacobsen, 466

U.S. 109, 119 (1984) (finding that an officer’s “viewing of what a private party had freely made

available for his inspection did not violate the Fourth Amendment,” even though the private

actor’s conduct “might have been impermissible for a government agent”); Walter v. United

States¸447 U.S. 649, 656 (1980) (“[T]here was nothing wrongful about the Government’s

acquisition of the packages or its examination of their contents to the extent that they had already

been examined by third parties.”); United States v. Mays, No. 19-cr-0075 (ECT/HB), 2019 WL

5150026, at *4 (D. Minn. July 23, 2019) (finding the search and seizure of laptop permissible

under the private actor exception where law enforcement received stolen laptop knowing the

laptop had been taken without permission), report and recommendation adopted, 2019 WL

4565636 (D. Minn. Sept. 20, 2019).

       For the foregoing reasons, the undersigned finds that the first factor weighs against

concluding that Dustin Clark was acting as a government agent.




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       B. Whether Dustin Clark intended to assist law enforcement or instead acted to

           further his own purposes

       Even when government officials know of a warrantless search by a non-government

official, the Eighth Circuit Court of Appeals has “been unwilling to impute agency where the

private actor was not ‘motivated solely or even primarily by the intent to aid the officers’ and

where the government did not request the challenged search.” United States v. Highbull, 894

F.3d 988, 992 (8th Cir. 2018) (citing United States v. Smith, 383 F.3d 700, 705 (8th Cir. 2004).

       In the present case, Defendant Walsh contends that Dustin Clark intended to help law

enforcement because he told Defendant Walsh she was going to jail. (Def. Walsh’s Mem.,

[Docket No. 70], at 3). This assertion falls well short of Defendant Walsh burden of proving by a

preponderance of the evidence that Dustin Clark was motivated solely or even primarily by his

intent to aid law enforcement.

       At best, Defendant Walsh’s assertion could be read as contending that Dustin Clark was

partially motivated by his desire to assist law enforcement; however, the Eighth Circuit Court of

Appeals has specifically “emphasized that the fact a private citizen is motivated in part by a

desire to aid law enforcement does not in and of itself transform [him] into a government agent.”

United States v. Highbull, 894 F.3d 988, 993 (8th Cir. 2018) (quotation marks omitted) (quoting

United States v. Smith, 383 F.3d 700, 705 (8th Cir. 2004)).

       In fact, in Highbull, supra, a case materially similar to the present circumstances, the

Eighth Circuit Court of Appeals upheld a district court’s finding that a private actor was not

motivated primarily by a desire to help law enforcement when the private actor’s actions also led

to the protection of a loved one; there the private actor’s daughter. Id., at 993. Here, Dustin Clark




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specifically told law enforcement that he was doing what he did to help Minor A who needed to

be protected.

       For the foregoing reasons, the undersigned finds that the second factor also weighs

against concluding that Dustin Clark was acting as a government agent.

       C. Whether Dustin Clark Acted at the Government’s Request

       The record before the Court makes evident clear that Dustin Clark did not act at the

request of any government official. As already discussed above, Dustin Clark looked through

Minor A’s phone and re-took it from Defendant Walsh before he ever interacted with any

government official. Defendant Walsh concedes as much in her memorandum in support of the

present Motion. (See, Def. Walsh’s Mem., [Docket No. 70], at 3) (“no one explicitly told Dustin

or the other to inspect the phone”).

       Therefore, the undersigned finds that this third factor likewise weighs against concluding

that Dustin Clark was acting as a government agent.

       Accordingly, weighing the factors reiterated by the Eighth Circuit Court of Appeals in

United States v. Highbull, 894 F.3d 988 (8th Cir. 2018), the undersigned finds that at the time

relevant to the present Motion, Dustin Clark was acting wholly as a private actor, and therefore,

Deputy Bennett’s acceptance of Minor A’s phone voluntarily from Dustin Bennett was not

violative of Defendant Walsh’s Fourth Amendment rights.

       For these reasons, to the extent Defendant Walsh’s Motion to Suppress Evidence seeks

suppression of evidence seized from the search of Minor A’s phone, the undersigned

recommends that Defendant Walsh’s Motion to Suppress Evidence, [Docket No. 52], be

DENIED.




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         Defendant Walsh also seeks suppression of other evidence obtained through the searches

of her two phones, as well as, her TextNow account “[t]o the extent that the search warrants”

upon which those searches were based relied upon the evidence obtained through the search of

Minor A’s phone. (Def. Walsh’s Mem., [Docket No. 70], at 4). Defendant Walsh argues that the

search warrants are invalid “as fruits of the poisonous tree” to the extent they are based on

evidence obtained through the allegedly wrongful search of Minor A’s phone. (Id.).

         The Court has already determined, however, that all of the underlying evidence obtained

through a search of Minor A’s phone was seized in a constitutionally permissive manner;

therefore, no poison taint flows from the search of Minor A’s phone. Defendant Walsh fails to

offer any other independent basis as to why other evidence obtained from her own two cell

phones and her TextNow account through the execution of otherwise unchallenged search

warrants should be suppressed.

         Therefore, to the extent Defendant Walsh’s Motion to Suppress Evidence, [Docket No.

52], seeks the suppression of the evidence obtained through the execution of other, subsequent

search warrants for her own two cell phones and her TextNow account, the undersigned

recommends that Defendant Walsh’s Motion to Suppress, [Docket No. 52], be DENIED.

VI.      Conclusion

         Therefore, based on the foregoing and all the files, records, and proceedings herein, IT IS

HEREBY RECOMMENDED THAT:

      1. Defendant Gunderson’s Motion to Sever Defendants, [Docket No. 44], be DENIED

         without prejudice;

      2. Defendant Gunderson’s Motion for Suppression of Confessions or Statements in the

         Nature of Confessions, [Docket No. 45], be DENIED;



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   3. Defendant Gunderson’s Motion for Suppression of Evidence Obtained With a Warrant,

       [Docket No. 46], be DENIED;

   4. Defendant Walsh’s Motion to Suppress Evidence Obtained in Violation of the Fourth

       Amendment, [Docket No. 52], be DENIED; and

   5. Defendant Walsh’s Motion to Sever Defendants, [Docket No. 54], be DENIED without

       prejudice.




Dated: December 6, 2019                                    s/Leo I. Brisbois
                                                           Hon. Leo I. Brisbois
                                                           U.S. MAGISTRATE JUDGE




                                         NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the District
Court and is therefore not appealable directly to the Eighth Circuit Court of Appeals.

Under Local Rule 72.2(b)(1), “A party may file and serve specific written objections to a
magistrate judge’s proposed findings and recommendation within 14 days after being served
with a copy of the recommended disposition[.]” A party may respond to those objections within
14 days after being served a copy of the objections. LR 72.2(b)(2). All objections and responses
must comply with the word or line limits set forth in LR 72.2(c).

Under Advisement Date: This Report and Recommendation will be considered under
advisement 14 days from the date of its filing. If timely objections are filed, this Report and
Recommendation will be considered under advisement from the earlier of: (1) 14 days after the
objections are filed; or (2) from the date a timely response is filed.




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